Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 1 of 36




                  EXHIBIT 3
                    Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 2 of 36


                                   TRANSMISSION VERIFICATION REPO~T

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            - .... &. SCHAUMBERG LLP
                                  Seth A. Watkins, F'h.D.        l\TTORNEYS .~T LAW
                                  (202} 407-8647 direct          1! 3 3 CON\i F. C TICUT AVE NUE. N.W.       W ASHINGTO N. DC 20036
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                                                                November 4, 2016

      LOUIS S M.l\S.Tll!ANI
                                                            By Email (foia@hq .dhs.gov)/n?X                        tot,,. 3'1]-1/0I/
   TOM M $C'l1\UM!lERCi           The Privacy Office I FOIA
OEAN~IA TAMNF.R OKUN              Office for Civil Rights and Civil Liberties
         WILL ~ I.CONARD          U.S. Department of Homeland Security
                                  245 Murray Lane SW, STOP-0655
       IAK HA[ L l llOAN[
                                  Washington, DC 20528-0655
       <V\Rf\H E HN.lfil.IN
                                            Re:       FOIA Request
    WILLIAM C 5.!0f;Ef((,

                                  To whom it may concern:
Ll/1\11r; t I rl<) U.·\Nllrn JR

   PAUL t GAITTKGWSKI                    This Freedom oflnformation Act ("FOIA") request is made on
                                  behalf of our client the National hnmigrant Justice Center, a program of
          DANIEL F ':-.MITH
                                  the Heartland Alliance for Human Needs & Human Rights, 208 S.
                                  LaSalle St., Suite 1300, Chicago, IL 60604 ("Requester"). All
                                  communications concerning this request should be sent to the
                                  W1dersigned attorney, Seth A. Watkins. Adduci, Mastr:iani &
   f HmlA:; 1<l\IJRNS .J~
                                  Schawnberg LLP, 1133 Connecticut Avenue, NW, Washington, DC
ROWAN M DOUGHt:.RTY               20036. tel. 202-407-8647. fax 202-466-2006. and email
       EV4NHLP.tKOON              watkins@adduci.com.
   L>.URt:N E PEWC>UN
       JllME$1QN·iH.'\T                   Pursuant to the Freedo.r.n. ofTnfonnation Act, 5 U.S.C. § 552 et
  MICHAEL f; DOt>.IAN JR '        seq., the following Records 1 in the possession1 custody, or control of
                                  DHS 's CRCL are hereby requested (co!lect).vely, the "Requests")
             Of COUMSEL
                                  concerning the Secure Communities Program:i and the Priority
                                  Enforcement Pro!rram ("PEP'')3:
                                Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 3 of 36




                                                Seth A. Watkins, Ph.D.        ATTORNEYS AT LAW
                                                (202) 407-8647 direct         1133 CONNECTICUT AVENUE, N.W.      WASHINGTON, DC 20036
                                                watkins@adduci.com           Tel:(202J 467-6300   Fax:<202> 466-2006    Web:www.adduc1.com


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           V JAMES ADDUCI !I
                                                                         By Email (foia@hq.dhs.gov)/rllX               toz . . 3'1] ..-{/01/
         LOUIS S MASTRIANI

      TOM M SCHAUMBERG                          The Privacy Office I FOIA
    DEANNA TANNER OKUN                          Office for Civil Rights and Civil Liberties
              WILL E LEONARD                    U.S. Department of Homeland Security
     MUNFORD PAGE HALL II
                                                245 Murray Lane SW, STOP-0655
           MICHAEL L DOANE
                                                Washington, DC 20528-0655
            SARAH E H/IMBLiN
                                                         Re:       FOIA Request
        WILUAM C SJOBER()

      JONATHAN J EMGLER                         To whom it may concern:
    DAVID H HOLLANDrn JR

       PAUL M BARTKOWSKI                               This Freedom of Information Act ("FOIA") request is made on
      SETH .~WATKINS PhD
                                                behalf of our client the National Immigrant Justice Center, a program of
                DANIEL f SMITH
                                                the Heartland Alliance for Human Needs & Human Rights, 208 S.
                                                LaSalle St., Suite 1300, Chicago, IL 60604 ("Requester"). All
                   ,\$HA ALL.·\t,;
                                                communications concerning this request should be sent to the
                BEAU JACKSON
                                                undersigned attorney, Seth A. Watkins, Adduci, Mastriani &
      THOM,\S R BURNS JR
                                                Schaumberg LLP, 1133 Connecticut Avenue, NW, Washington, DC
     ROWAN M DOUGHERTY                          20036, tel. 202-407-8647, fax 202-466-2006, and email
            EVAN H LANGDON                      watkins@adduci.com.
       LJ\!JRf:N E PETERSO~J

            JAMES TON THAT                              Pursuant to the Freedom of Information Act, 5 U.S.C. § 552 et
      tAIWAEL R DOMAN JR'                       seq., the following Records 1 in the possession, custody, or control of
                                                DHS's CRCL are hereby requested (collectively, the "Requests")
                    OF UJUNStL
                                                concerning the Secure Communities Program2 and the Priority
                                                Enforcement Program ("PEP") 3 :
      JOHN c STEINBrnc,rn

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                                                          1
                                                          As used herein, the term "Records" includes but is not limited
HARVEY B F(JX (l94l-2010i                       to data (including Excel spreadsheets), transmittals, letters, emails,
                                                memoranda, reports (including, e.g., statistical monitoring reports and
                           Af'FIU,\TE           audit reports), instructions (such as to or from agency staff, contractors,
 1\M&S TRADE SERVICES LLC                       or other providers), and summaries.
C/\RLC1S MOORE. PRESIDENT                                2
                                                         To facilitate an adequate search for relevant Records, attached
                                                hereto as Exhibits A-Dare documents from the Department of
                                                Homeland Security ("DHS") and DHS ' s Office for Civil Rights and
                                                Civil Liberties ("CRCL") describing Secure Communities statistical
                                                monitoring.
                                                         3
                                                         To facilitate an adequate search for relevant Records, attached
                                                hereto as Exhibits E-F are documents from DHS and CRCL describing
                                                the Priority Enforcement Program ("PEP").
       Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 4 of 36
The Privacy Office / FOIA
U.S. Department of Homeland Security
November 4, 2016
Page 2


       Records Related to the Secure Communities Program4

       (1)   all reports produced between May 6, 2014 and the present related to Secure
             Communities statistical monitoring, including all draft reports and reports produced
             by contracted statistician(s);

       (2)   all communications between May 6, 2014 and the present, including but not
             limited to emails, involving ICE and/or contracted statistician(s) regarding Secure
             Communities statistical monitoring;

       (3)   all Records between May 6, 2014 and the present related to investigations on
             jurisdictions where statistical monitoring reports revealed “yellow flag” anomalies
             or were otherwise chosen for further investigation;

       (4)   all Records between May 6, 2014 and the present related to asserting DHS Title VI
             jurisdiction in relation to investigation(s) described in Request No. 3;

       (5)   all communications with the DOJ Civil Rights Division between May 6, 2014 and
             the present regarding investigation(s) described in Request No. 3;

       (6)   all findings produced between May 6, 2014 and the present as part of
             investigation(s) described in Request No. 3, including drafts of findings;

       (7)   all recommendations to ICE or subject jurisdiction(s) of investigation(s) described
             in Request No. 3 between May 6, 2014 and the present, including drafts of
             recommendations;

       (8)   all revisions to the quarterly statistical review protocol for Secure Communities
             statistical monitoring between May 6, 2014 and the present; and

       (9)   all communications with DOJ between May 6, 2014 and the present regarding the
             results of investigation(s) described in Request No. 3.

       Records Related to the Priority Enforcement Program (“PEP”)

       (10) all reports produced related to PEP statistical monitoring, including all draft reports,
            all reports produced by contracted statistician(s), and all statistical and data
            monitoring reports;


       4
          These specific requests concerning Secure Communities are currently the subject of
litigation in Heartland Alliance for Human Needs & Human Rights d/b/a National Immigrant
Justice Center v. United States Department of Homeland Security, No. 1:16-cv-00211-RMC
(D.D.C.). However, for the FOIA request to DHS/CRCL currently at issue in that litigation,
“DHS search taskings were issued on or about May 5, 2014.” Id., ECF No. 17 at 2. Thus, these
new requests seek Records subsequent to that date, i.e., between May 6, 2014 and present.
       Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 5 of 36
The Privacy Office / FOIA
U.S. Department of Homeland Security
November 4, 2016
Page 3


       (11) all reports produced related to PEP with respect to the detection of inappropriate use
            of biometric data to support or engage in biased policing or improper police
            practices;

       (12) all communications, including but not limited to emails, involving ICE, DHS’s
            CRCL, and/or contracted statistician(s) regarding PEP statistical monitoring and/or
            reports related thereto;

       (13) all Records related to investigations on jurisdictions where statistical monitoring
            reports revealed “yellow flag” anomalies or were otherwise chosen for further
            investigation;

       (14) all Records related to investigations into jurisdictions for which PEP statistical
            monitoring may have detected “inappropriate use [of PEP] to support or engage in
            biased policing” or “patterns or trends [related to PEP] consistent with improper
            police practices”;5

       (15) all Records related to remedial measures to stop “inappropriate use [of PEP] to
            support or engage in biased policing” or “patterns or trends [related to PEP]
            consistent with improper police practices”;6

       (16) all revisions to the quarterly statistical review protocol for PEP statistical
            monitoring; and

       (17) all communications with DOJ regarding the results of investigation(s) described in
            Request No. 13.

        The above Requests do NOT include any portions of Records specifically identifying a
particular individual, that would be covered under the Privacy Act or other privacy protections.

      Prioritization of Document Productions. Requester hereby prioritizes the following
Records for production by DHS/CRCL without waiving or otherwise limiting the scope of the
FOIA requests set forth above:

             HIGHEST PRIORITY -- all final (i.e., non-draft) reports produced related to Secure
             Communities and/or PEP statistical monitoring;7




       5
           See Exhibit E at 3; Exhibit F at 2.
       6
           Id.
       7
          It is Requester’s understanding that on a quarterly basis, a criminologist/statistician
prepared an assessment with respect to statistical monitoring for indications of racial profiling
and that the reports started with quarterly data circa June 2011.
       Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 6 of 36
The Privacy Office / FOIA
U.S. Department of Homeland Security
November 4, 2016
Page 4


           SECOND HIGHEST PRIORITY -- all communications, including emails, between
           or amongst DHS’s CRCL, ICE and/or contracted statistician(s) regarding Secure
           Communities and/or PEP statistical monitoring; and

           THIRD HIGHEST PRIORITY -- all records related to investigations into
           jurisdictions that the Secure Communities and/or PEP statistical monitoring reports
           identified as having “yellow flag” anomalies.

        Possession of Records. If DHS/CRCL does not have custody or control over certain
requested and responsive Records but knows or believes that another department, agency, private
entity, or another subject to FOIA does, such as another operational or support component of
DHS, please forward this FOIA request to the appropriate person and inform the undersigned
that you have done so.

        Withheld Records. If DHS/CRCL believes any Records or portions of the Records are
exempt from disclosure, please provide the non-exempt and/or reasonably segregable portions of
the Records. Please also provide a Vaughn index identifying all Records or portions thereof that
are being withheld from disclosure and state the specific basis for any denial or redaction.

         Request for Expedited Processing and Fee Waiver. Requester hereby requests
expedited processing pursuant to 5 U.S.C. § 552(a)(6)(E) and a fee waiver under FOIA to the
fullest extent permitted by law.

       Requester is a nonprofit entity under Section 501(c)(3) of the Internal Revenue code.
Dedicated to ensuring human rights protections and access to justice for all immigrants, refugees,
and asylum seekers, Requester provides direct legal services to and advocates for these
populations through policy reform, impact litigation, and public education. Through its work,
Requester advocates for individual clients as well as for broad-based systemic change.

        The primary purpose of the Requester is to inform the legal community and the public
about the operation of ICE’s Secure Communities program and PEP, and in particular concerns
about biased policing in connection with these programs. This is an issue of significant public
interest and concern, and there is a compelling need for disclosure of Records related thereto.
Expedited processing therefore is appropriate.

       Congress intends that fee waivers be liberally granted for non-commercial requesters.
See Judicial Watch Inc. v. Rossotti, 326 F.3d 1309, 1312 (D.C. Cir. 2003) (“Congress amended
FOIA to ensure that it be ‘liberally construed in favor of waivers of noncommercial
requesters.’”).

         The Requester is entitled to a fee waiver because the information being sought “is in the
public interest because it is likely to contribute significantly to public understanding of the
operations or activities of the government and is not primarily in the [Requester’s] commercial
interest.” 5 U.S.C. § 552(a)(4)(A)(iii); 6 C.F.R. § 5.11(k). The Requester has a proven track
record of compiling and disseminating information to the public about government functions and
activities, and intends to make DHS/CRCL’s response—and an analysis thereof—publicly
available on its website, www.immigrantjustice.org. Requester has undertaken its work
       Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 7 of 36
The Privacy Office / FOIA
U.S. Department of Homeland Security
November 4, 2016
Page 5


concerning biased policing in the public interest and not for any private commercial interest.
This FOIA request seeks to obtain information to further the public’s understanding of the
operation of the Secure Communities program and PEP. Access to this information is a required
for the public to meaningfully evaluate the effectiveness of these programs vis-à-vis any
collateral consequences. The public has an interest in knowing the operation of these central
programs to ICE’s interior enforcement strategy. The Records sought in this request will shed
light on one of the central public concerns with these programs, in particular alleged racial-
profiling.

         The Requester is also entitled to a fee waiver as “a representative of the news media.”
5 U.S.C. § 552(a)(4)(A)(ii)(II); 6 C.F.R. § 5.11(d)(1). Under the FOIA statute, “a representative
of the news media” means “any person or entity that gathers information of potential interest to a
segment of the public, uses its editorial skills to turn the raw materials into distinct work, and
distributes that work to an audience.” 5 U.S.C. § 552(a)(4)(A)(ii). “News” means “information
that is about current events or that would be of current interest to the public.” Id. Examples of
news media entities includes “alternative media” that disseminate their publications for free
“through telecommunications services,” i.e., the internet. Id. Requester has a track record of
turning raw material into reports and other publications for distribution to the general public,
including over the internet, and does so at no charge. Therefore, DHS/CRCL should not charge
Requester any search-related costs for this FOIA request.

        The documents subject to this FOIA request are not sought for any commercial use.
Thus, in the alternative, Requester understands that no fee may be charged for the first two hours
of search time or for the first 100 pages of duplication. 5 U.S.C. § 552(a)(4)(A)(iv)(II); 6 C.F.R.
§ 5.11(d)(3).

       To the extent that fees associated with the Requests exceed the maximum allowable fee
waiver, Requester (through its attorneys) hereby agrees to pay fees not to exceed $250.00 in
connection with the FOIA requests herein. If DHS/CRCL requires the payment of fees in excess
of $250.00, please contact the undersigned to seek advance authorization to proceed and please
provide an estimate of fees broken down according to each numbered request above.

        Records Produced in Electronic Form. To the extent possible, please disclose all
Records in connection with this FOIA request in electronic form. Where data is to be disclosed,
to the extent possible, please produce native files (e.g., Excel spreadsheets). Please send these
Records by email to watkins@adduci.com or on media such as a CD or DVD. If the file sizes of
the Records are too large to be emailed or provided on electronic media, please contact the
undersigned to arrange another method for transmitting them.

       Please produce with the Records any metadata and load files, so that the Records can be
accessed, searched, and displayed in a manner comparable to a DHS/CRCL user. If codes are
employed (including any numerical list of agencies, jails, or police departments), please also
produce any documents in DHS/CRCL’s possession, custody, or control explaining the codes
employed as well as what they signify.
       Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 8 of 36
The Privacy Office / FOIA
U.S. Department of Homeland Security
November 4, 2016
Page 6


       Please respond within 20 business days in accordance with 5 U.S.C. § 552(a)(6)(A). If
you have any questions regarding this request, please contact the undersigned by email at
watkins@adduci.com or by telephone at 202-407-8647.

                                                   Sincerely,
                                                   /s/
                                                   Seth A. Watkins, Ph.D.
Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 9 of 36




                 EXHIBIT A
                  Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 10 of 36




Secure Communities: Statistical Monitoring
(last revised Nov. 16, 2011)

Through the Secure Communities program, after fingerprints for individuals booked into jails by state and local police
are received by the FBI for checks against various criminal justice databases, those fingerprints are then checked against
Department of Homeland Security (DHS) databases, revealing if a fingerprinted arrestee may be a removable alien. The
data and information available to DHS can offer a window into policing practices that may help identify potential civil
rights issues in state or local law enforcement agencies where Secure Communities is activated.

DHS is committed to ensuring the Secure Communities program incorporates robust civil rights oversight. To that end,
the DHS Office for Civil Rights and Civil Liberties (CRCL) and U.S. Immigration and Customs Enforcement (ICE)
have developed a three-part process for identifying jurisdictions in which further analysis and oversight measures may
be warranted:

1. Statistical monitoring
Each quarter, ICE and CRCL, with the assistance of an outside expert statistician, calculate statistics based on
fingerprint submissions, alien identifications, and underlying demographic and crime data to identify jurisdictions
whose arrest patterns appear unusual or anomalous. A statistical anomaly does not conclusively determine that the
jurisdiction is making inappropriate or unlawful arrests. Rather, the statistics aim to identify a set of jurisdictions for
additional analysis.

The technical details are available here, but the statistics are fairly straightforward. First, for each county where Secure
Communities has been activated, we compare the percentage of all alien arrestee fingerprints that match an immigration
database record to the percentage of that county’s population that (based on Census Bureau data) was born abroad.
Second, we compare the number of arrested aliens with immigration records to the overall crime data for the county (as
surveyed by the FBI) multiplied by the percentage of the county’s population that was born abroad. And third, we
compare the incidence of less-serious criminal arrests among the identified alien group with the same incidence in the
overall crime data. For each of these metrics, a particularly high score could result from unusual or skewed police
attention to crimes committed by aliens, or it could instead result from a variety of other circumstances. Using these
calculations, CRCL produces a set of approximately two dozen of the highest-ranking jurisdictions for further analysis,
each quarter.

2. Statistical analysis
Having identified jurisdictions to examine, we can then use more resource-intensive and individualized analytic
techniques. In particular, we can review data such as: variation in arrest statistics over time; additional demographic
information; more detailed general arrest and crime information; seasonal variation in crime patterns; comparison to
adjacent jurisdictions; changes in state law, law enforcement policy, or data systems that could produce unusual
statistics; and other data that may have been reported. In addition to purely statistical research, this step can involve
contact with the ICE field office to better understand the characteristics of the jurisdictions.

3. Direct investigation
Where statistical analysis leaves open questions, or where ICE or CRCL have received a complaint meriting
investigation, we will conduct direct, non-statistical inquiries. Such an investigation may involve more traditional civil
rights investigation tools, such as interviews with complainants, law enforcement, and local ICE personnel; review of
documents requested from the agency or agencies involved; site visits; and related methods. DHS will also notify the
Department of Justice of these inquiries at appropriate points.
We anticipate that law enforcement agencies will voluntarily cooperate with our investigations. If necessary, additional
tools exist to encourage cooperation, including adjustments to Secure Communities protocols for the relevant
jurisdiction and using DHS’s Title VI authority if appropriate.
Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 11 of 36




                  EXHIBIT B
   Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 12 of 36




'i~)~ Homeland
'{\Uf Security
Secure Communities: Statistical Monitoring
(last revised Nov. 16, 2011)


The Secure Communities program works after fingerprints submitted by police to the FBI for checks
against various criminal justice databases are checked in turn against Department of Homeland
Security (DHS) databases, revealing which fingerprinted arrestees may be removable aliens. Usually
in a matter of hours after fingerprinting, U.S. Immigration and Customs Enforcement (ICE) receives
the names of possibly removable alien arrestees and can determine the appropriate immigration
enforcement action. Secure Communities' principal tool for identification of such persons is its use of
"IDENT/IAFIS interoperability"-a data conduit connecting the FBI's Integrated Automated
Fingerprint Identification System (IAFIS) with DHS US-VISIT's Automated Biometric Identification
System (IDENT).

The data and information available to OHS as a result of Secure Communities' use of IDENT/IAFIS
interoperability offer a window into policing practices that may help identify potential civil rights
problems linked to the program. DHS is committed to ensuring the Secure Communities program
incorporates robust civil rights oversight. To that end, the DHS Office for Civil Rights and Civil
Liberties (CRCL) and ICE have developed a three-part process for identifying jurisdictions in which
further analysis and possibly oversight measures may be warranted:

    •    Statistical monitoring to detect anomalous jurisdictions;
    •    Statistical analysis to understand those anomalies; and
    •    Direct investigation of unresolved anomalies and civil rights complaints.

A. Statistical monitoring
In June 2011 ICE Director John Morton and OHS Officer for Civil Rights and Civil Liberties Margo
Schlanger announced DHS's plan for a quarterly review of Secure Communities-related statistics.
This statistical monitoring initiative is conducted by CRCL staff and an academic expert in
criminological statistics, assisted by ICE staff. The statistical monitoring is designed to identify
jurisdictions with statistically anomalous data. These jurisdictions then receive additional, in-depth
analysis. A statistical anomaly does not conclusively determine that the jurisdiction is making
inappropriate or unlawful arrests. Some anomalies are likely to be pure artifacts of the limited data
available, and not, upon examination, probative of improper practices.

The statistical metrics that have been designed for this initiative aim to identify a set of jurisdictions
for additional analysis, based on the limited available information. The statistical monitoring relies on
several forms of data available from federal sources:

   •    Fingerprint submission counts, reflecting all fingerprint submissions to the FBI's IAFIS in
        counties in which Secure Communities is activated;
   •    Alien fingerprint match counts, indicating that a fingerprint submission corresponds to a
        record of an alien in the DHS ID ENT database;




                                                                                         p. 1
 Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 13 of 36




    •   American Community Survey (ACS) data on the total and foreign-born population by
        jurisdiction, produced by the U.S. Census Bureau (we use the 5-year survey estimates,
        currently covering years 2005-09, and will update as new data are released); and
    •   Uniform Crime Reports (UCR) data on the number and types of arrests, by reporting agency,
        produced by the FBI as one of its national crime-reporting programs. The raw FBI data are
        adjusted to account for variation in coverage among agencies, and then categorized to
        approximately track the distinction between aggravated felonies and other arrests. (We use
        2008 data, the latest analyzable dataset.)
We aggregate all data at the county level, and remove from the analysis counties with so few IDENT
matches that meaningful statistical analysis is impossible. Results are then separated between larger
(over 100,000 population) and smaller (under 100,000) counties, which tracks a county-size division
used by the UCR. All counties that are activated in Secure Communities for at least one full quarter
are analyzed. For states that do not participate in the UCR program, we substitute state-level crime
reporting data, if data comparable to the UCR are available. When comparing quarterly Secure
Communities data to annual UCR data, we divide the annual UCR figure by four to obtain an average
quarterly value.

The purpose of the review is to choose appropriate jurisdictions for additional analysis; this will focus
on jurisdictions that rank in the top ten among larger counties, or in the top five among smaller
counties, on one of the first two metrics described here; rankings on the third metric primarily serve to
check and prioritize among the jurisdictions that rank high on the first two metrics. To the extent
resources permit, additional jurisdictions may also be analyzed further.

1. Foreign-born arrestee comparison
   Compares !DENT matches as a portion of all fingerprint submissions with.foreign-born
   proportion ofpopulation

Secure Communities' use ofIDENT/IAFIS interoperability examines individuals whom IDENT
identifies as aliens-"alien IDENT matches." IDENT records of known U.S. citizens are disregarded
by Secure Communities.

The first data metric compares the fraction of a county's arrestees who are alien ID ENT
matches to the fraction of the county's population that is foreign-born, as determined by the
ACS. We then rank jurisdictions by the extent to which the rate of alien IDENT matches
exceeds the foreign-born population.

                                                     !DENT Matches
               Foreign Born Arrestee Comparison= - - - -Submissions
                                                   IAFIS ------
                                                    %Foreign Born

For example, in a jurisdiction where 20% of submitted fingerprints lead to an alien ID ENT match, but
the underlying population is 5% foreign-born, this metric will be 4-and the jurisdiction will rank
higher than a jurisdiction where 20% of arrests are ID ENT matches but 10% of the population is
foreign-born, for which the metric is 2. Jurisdictions that rank high on this measure seem appropriate
for further analysis because those are the jurisdictions where aliens appear to constitute a significantly



                                                                                         p.2
      Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 14 of 36




    greater fraction of the arrested population than they do of the general population. Sample data and
    calculations are provided in part 4, below.

This metric has four important limitations, the first two of which we are working to address across all
jurisdictions, and the last two of which can be taken account of in followup analysis:

        1. Sometimes individuals who are arrested and booked are fingerprinted more than once at
           different points in the criminal justice process. The rate at which individuals are fingerprinted
           multiple times in the process-and accordingly appear more than once in our data set-varies
           from place to place (although early review indicates that the variation is small), and could
           affect the ratio of matches to submissions in particular jurisdictions. We are investigating this
           duplication issue and may in the future adjust the metric to account for variations in duplication
           rates between counties. (The second metric, described below, is duplication-adjusted, which
           minimizes the impact of this data imperfection.)

       2. ID ENT does not cover the foreign-born population at a uniform rate across jurisdictions.
          Persons who have entered without inspection (as by illegally crossing the border between ports
          of entry), and have no prior encounter with federal immigration agencies, will generally not be
          in ID ENT. Communities where such persons make up a higher percentage of aliens will have
          a lower IDENT match rate, relative to the total foreign-born population, than will communities
          where most foreign-born persons, including illegal aliens, entered after inspection (such as by
          overstaying after expiration of a visa). ICE is working to better understand variation in IDENT
          coverage of the foreign-born population.

       3. In some jurisdictions, a substantial percentage of arrests may be individuals who reside outside
          the jurisdiction. These could include low-population jurisdictions where many arrests involve
          vehicles on a major thruway, urban jurisdictions where a significant fraction of arrestees live in
          adjacent jurisdictions but travel back and forth, or other patterns. A significant mismatch
          between the offender and resident populations could impact the metric, irrespective of
          paiiicular policing practices, as a result of the comparison to the foreign-born resident
          population of the jurisdiction.

       4. This metric could be skewed in jurisdictions that experienced a significant recent change in the
          foreign-born population that was not yet captured by the latest available ACS data.

2. Foreign-born crime comparison
       Compares alien arrest patterns to underlying crime rates

Once a fingerprint submission is identified as an alien IDENT match, ICE's Law Enforcement Suppoti
Center (LESC) reviews additional databases to determine the individual's criminal history, for
purposes of resource prioritization. The LESC flags individuals who have a prior confirmed
conviction for an aggravated felony or are known to have just been arrested for an aggravated felony.
("Aggravated felony" is a term of art in immigration law. 1) We utilize the LESC's limited separation
of aggravated felonies from other felonies and misdemeanors for the second data metric; those aliens



1
    See 8 U.S.C. § l 10l(a)(43) (defining "aggravated felony" to include a wide range of violent and non-violent crimes).


                                                                                                          p.3
    Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 15 of 36




who have no known prior conviction for, or current arrest for, an aggravated felony are designated
"LESC L2&3."

The second data metric compares the number oflDENT-matched aliens arrested for non-
aggravated felonies and misdemeanors (and with no prior conviction for an aggravated felony)
to the jurisdiction's overall rate of such arrests, adjusted for the percentage of the jurisdiction's
population that is foreign-born. Patterns showing aliens are arrested at a high rate for minor crimes,
relative to their proportion within the population and the underlying crime incidence may warrant
further analysis.


                                                                            LESC L2&L3
        Foreign Born Crime Comparison=
                                                        1
                                                       4 UCR NonAgg.Fel.Arrestsx % Foreign Born

For example, suppose in one quarter County A has 50 IDENT matches for lesser crimes by aliens
without a known aggravated felony conviction, that it usually has 500 total arrests for lesser crimes in
a quarter (2000 in a year), and that its population is 2% foreign-born. So 1 in 10 lesser-crime arrests is
of an alien whose fingerprints are in IDENT, even though only 1 in 50 people are foreign-born. This
metric would therefore be 5. If in County B, the same rate of 1 in 10 lesser-crime arrests involves an
alien, but the underlying population of County B is 10% foreign-born, this metric would be just 1. For
counties that rank high with respect to this metric, the rate of alien arrests for crimes other than
aggravated felonies appears disproportionate to the underlying population, which could stem from
skewed police attention to lesser crimes committed by aliens, or from a variety of other
circumstances.

This metric has five important limitations; again, we are taking each of these into account:

     1. Although for this metric, we attempt to control for the duplication problem described as
        limitation (I) in the discussion of the first metric above, that ameliorates but does not eliminate
        duplication as an issue. Where possible, we reduce the duplication problem for the Foreign
        Born Crime Comparison by adjusting each jurisdiction's LESC L2&3 number by a duplication
        multiple (calculated by examining all of the IDENT matches in that jurisdiction in a nine-
        month period to identify multiple submissions2). Most jurisdictions have relatively similar
        duplication rates, so this adjustment materially affects the relative order of only a small fraction
        of jurisdictions.

         The duplication rate cannot be calculated for some jurisdictions for technical reasons related to
         the format in which they submit fingerprints to FBI ("National Fingerprint File" (NFF) states).
         For those jurisdictions, we adjust by the mean duplication rate from similarly-sized counties.

     2. The mobile-population issue, described as limitation (3) of the first metric above.

2
 The nine-month window for determining when multiple fingerprint submissions are likely to have arisen from a single
arrest rather than multiple arrests of the same individual was chosen as a reasonable assumption regarding the length of an
arrest cycle. While a different time frame might yield somewhat different duplication results, the range of values is
sufficiently small that we believe that the choice of de-duplication interval is not a significant factor in the rankings on this
metric.


                                                                                                            p.4
   Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 16 of 36




    3. Aligning underlying crime data with the LESC's separation of aggravated felonies from other
       crimes is imperfect, as "aggravated felony" is not a category used by the UCR. Many offenses
       tracked by the UCR may or may not qualify as aggravated felonies in paiticular circumstances,
       but this metric necessarily makes a categorical distinction among UCR crimes. 3

    4. Not all counties participate in the VCR, and so may not have comparable underlying crime
       rates for us to review; we use other arrest data, where it is available and comparable to UCR,
       but some jurisdictions cannot be reviewed with this comparison.

    5. The most significant limitation results from LESC's operational goal of responding to each
       Secure Communities inquiry within four hours, and the fact that the data the LESC receives
       directly from IDENT/IAFIS interoperability do not include any information on the crime for
       which the individual was arrested and fingerprinted. While the LESC attempts to obtain both
       prior criminal history and information on the instant arrest, its ability to obtain instant-arrest
       information in its limited window of time is highly constrained. As a result, some alien
       JDENT matches that result from an arrest for an aggravated felony are not categorized as Level
       1 leads by the LESC (though ICE field agents escalate a case's priority once they obtain
       information on an aggravated felony arrest). And, conversely, some aliens are classified as
       Level 1 leads by LESC not because of their instant arrest, but because of a known prior
       conviction for an aggravated felony. ICE and the FBI are working on advanced software and
       data-flow procedures that will eventually enable the LESC to have closer to real-time
       information on the severity of instant arrests, but until that technology is available-in a few
       years-LESC data is of real but limited value in determining the kinds of arrests law
       enforcement agencies are making. ICE has, however, undertaken a short-term study to better
       estimate the proportion of aliens categorized as LESC L 1 on each applicable basis. When that
       study is complete, we may be able to improve this metric.

3. Identified alien crime severity comparison
    Compares the severity of offenses among IDENT-ident(fi'ed arrested aliens with the severity among
    the entire population of arrestees
The third metric compares the relative incidence of lesser crimes as a fraction of all crimes among the
general population and the alien population. Like the second metric, the third metric utilizes the
LES C's separation of alien IDENT matches with immediate arrests for, or readily available confirmed
convictions for, aggravated felonies, from the other alien IDENT matches.

We compare the ratio of Jess-serious crimes to all arrests in the IDENT matches to the
comparable ratio in general crime data.


                                                             LESC L2&L3 )
                                                          (
        Identified Alien Crime Severity Comparison = _ _ _l~D_E_N_T_M_a_t_cl_le_s_ __
                                                       UCR NonAgg.Fel.Arrests )
                                                     (      All UCR Arrests


] lJCR categories DRGSALE, MURDER, RAPE, AGASSLT, ARSON, BURGLRY, ROBBERY, EMBEZL, and WEAPONS are mapped as
aggravated felonies, and all other categories to other crimes.


                                                                                            p. 5
 Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 17 of 36




Adding to the same County A figures used above, suppose County A has 50 IDENT matches for lesser
crimes (by aliens without a prior aggravated felony conviction), out of 75 total ID ENT matches.
Among all arrests, as reported to the UCR, it has 500 total arrests for lesser crimes, out of 750 total
crimes, in a year. Following the formula above, this metric would be 1. If County B has all the same
figures, except that the total UCR arrests were 1000, this metric would be 1.3 3. If a county has a high
rank on this metric, it could suggest that enforcement among aliens is particularly concentrated on
minor crimes-arrests for which are more often (but not always) discretionary, and therefore the areas
in which bias might occur. Again, however, there are many reasons for such a result, and the purpose
of this tool is to identify jurisdictions for further analysis.

The formula used for this comparison has the advantage that it should not be affected by duplicate
submissions of fingerprints at various points in the criminal justice process. Otherwise, however, it
shares the limitations discussed for the second metric. Moreover, because of its sensitivity to small
numbers, we only calculate this number for jurisdictions with at least 5 IDENT matches in the quarter.
This metric is principally used to rank jurisdictions that have been identified through one of the prior
two metrics; a jurisdiction that ranks highly only on this metric is unlikely to be a primary focus for
further analysis at this time.

                                               * * *
It is important to remember that ranking jurisdictions, which focuses on the differences among them,
should compensate for some of the data issues described above. In addition, the monitoring we intend
is not akin to an indictment or other declaration of wrongdoing but rather simply a nomination for
additional analysis. To date, ICE and CRCL have been through two quarters of data. We used data
from the second quarter of FY 2011 to refine the metrics; the third quarter of FY 2011 allowed the first
use of the statistical monitoring methodology. We have begun follow-up steps (explained in section B
below).

4. Sample Data and Calculations

The data and metrics are contained in a flat spreadsheet with one record per jurisdiction (county or
county-equivalent). The sample data below illustrate the fields involved in the monitoring metrics
described in this document. (The database also contains additional information on ICE activity.)

Table 1. Sample data used for Secure Communities quarterly reviews
 n1111le data: These are not real counties.




                                                                                       p. 6
  Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 18 of 36




These three large (and fictional) counties (population over 100,000) have certain similarities, but
enough dissimilarities to be difficult to compare directly: Smith is twice as large as Greene, while Ng
falls in the middle; but Smith has three times, and Greene nearly twice, the foreign-born population of
Ng. Smith has the highest overall crime rate (36 crimes per thousand population), and Greene both the
lowest (26 crimes per thousand) and the least serious ( l 0% of crimes are aggravated felonies,
compared to about 16% in Smith and Ng). But it is difficult to determine, just from the raw data, how
the jurisdictions compare with respect to indicia of policing practices disproportionately directed at
minor crimes by foreign-born persons.

We can then compute the metrics:

Table 2. Sample Secure Communities monitoring metrics
 t'1m le data: These are not real counties.




Greene                          0.574



Smith ranks highest on metric 1, while Greene ranks highest on metric 2. Smith and Greene rank
comparably on metric 3. Our attention should focus on those two counties; metric 3 provides
additional assurance that Ng is ofless concern.

5. Improvements Underway

Better real-time arrest data. ICE does not currently receive analyzable data on the nature of the arrest
for which a fingerprint submission is being made. In other words, we do not know in real time whether
a submission is based on a traffic offense or a violent crime. Accordingly, we rely on follow-up ICE
investigations to make that data available in ICE record systems. Improvements to ICE systems are
now underway that will significantly improve real-time data on the crime prompting an arrest; our
statistical detection tools will improve once that software, part of what ICE terms the Automated
Threat Prioritization initiative, is in place, and the data passed to ICE through interoperability includes
a data field on the offense prompting the instant arrest.

De-duplication. As noted above, one possible reason for anomalous arrests rates of certain types could
be a local practice of running fingerprints at multiple stages of criminal justice processing.
Systematically re-printing individuals would increase biometric submissions, relative to a jurisdiction
that only submits prints once per arrestee, without reflecting any meaningful enforcement difference.
Pursuing this issue requires cooperation and assistance from US-VISIT, the custodian of the IDENT
database, as well as FBI, the custodian of the IAFIS database. That work is well underway.




                                                                                          p. 7
  Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 19 of 36




B. Statistical analysis
Many of the statistical anomalies identified in the statistical monitoring procedure likely reflect local
crime patterns and legitimate law-enforcement practices. Further statistical analysis will need to be
conducted to determine how to account for those anomalous patterns. For example, if a state LEA's
mission primarily involves highway patrol, it should have a high rate of traffic stops relative to other
arrests. Again, these investigations will be conducted with ICE's resources and assisted by an expert
criminology statistician retained by CRCL.

Because research will require utilization of data collected by local or state authorities, each of whom
have their own reporting requirements as to extent, frequency, data fields included, and the like, 4 it
will need to be individualized for each jurisdiction. Because it is local, statistical analysis necessarily
relies on a mosaic of data sources and a research design particularized to the enforcement and
information environment. The primary goal for this research will be to obtain data to provide the most
accurate possible assessment of LEA policing practice. We anticipate that in some cases data will be
easily obtained in a form that is easily analyzed. In other situations it may be more expedient to move
to a direct investigation simply because the data collection effort would take more resources than
investigation itself.

ICE and CRCL are committed to the following steps:

    •    Compare current-quarter statistical metrics to results in other quarters
    •    Review ICE administrative arrest and removal statistics from the jurisdiction
    •    Identify any weaknesses in existing data (low or missing coverage for overall crime statistics)
    •    Conduct further database research on the jurisdiction, including:
             o   Additional data on citizenship, other characteristics of the foreign-born population
             o   Additional arrest and crime data, where available, including the FBI National Incident-
                 Based Reporting System (NIBRS)
    •    For agencies that also participate in ICE's 287(g) program, review additional data submitted
         through that program
    •    ICE ERO contacts to the local Field Office to identify possible causes of the statistical
         anomaly, potentially including:
             o   Changes in local law, policy, or political/law enforcement leadership
             o   Demographic characteristics or changes not captured by Census Bureau data
             o   Geographic features (proximity to other population centers, major highways, etc.)
             o   Local data discovery and data entry practices
             o   Perceptions of local policing practices, particularly with respect to minor crimes and
                 with respect to racial/ethnic minorities

"For example, r!orida does not fully participate in the FDI's UCR program, but provides very similar arrest data through
its own Statistical Analysis Center. See Florida Department of Law Enforcement: Florida Statistical Analysis Center:
Uniform Crime Repo11s, at )1tij ://www.fdl ·.state . n.11!\/Content/getdoc/n321ludd7-5dd6-420 J ,9696-93bfd16bcJ6ciUCR-
Home.aspx (last visited July 18, 2011 ).


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   Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 20 of 36




     •   Review arrest and conviction history of individuals identified through Secure Communities,
         particularly those identified on the basis of a misdemeanor arrest
     •   Review news accounts, nongovernmental organization reports, and any complaints submitted
         to ICE or CRCL concerning law enforcement practices in the jurisdiction
     •   Determine relevant OHS jurisdiction under Title VI of the Civil Rights Act of 1964
     •   Notify Department of Justice that the jurisdiction is undergoing analysis

C. Direct investigation

Where statistical analysis leaves open questions, or where ICE or CRCL have received a complaint
meriting investigation, we will move to direct, non-statistical investigation. 5 The investigations will
involve, as appropriate for each situation:
     •   Interviews with complainants;
     •   Cooperation with ICE, especially field office personnel, to understand jurisdiction- and LEA-
         specific factors;
     •   Requests for production of documents from the LEA being investigated (as well as, perhaps,
         related LEAs-such as a sheriffs department that runs the jail used by an LEA under
         investigation);
     •   Determination ofDJIS's Title VI jurisdiction over the subject LDA;
    •    Notification of the Department of Justice, Civil Rights Division; and
    •    Interviews, site visits, and other in-person investigative methods.

We anticipate that law enforcement agencies will voluntarily cooperate with our investigations. If
necessary, additional tools exist for securing that may facilitate cooperation, including, potentially,
adjustments to Secure Communities protocols for the relevant jurisdiction and using DHS's Title VI
authority if appropriate.




5
  See Memorandum for All ICE and CRCL Personnel from Margo Schlanger, Officer for Civil Rights and Civil Liberties
and Gary Mead, Executive Associate Director, ICE, regarding Secure Communities Complaints Involving State or Local'
Law Enforcement Agencies (June 14, 2011 ), at http://www.ice.gov/doclib/secure-commu11ilics/pdf/complainlprot()~1Jllif.


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Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 21 of 36




                  EXHIBIT C
         Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 22 of 36
Office for Civil Rights and Civil Liberties
U.S. Department of Homeland Security
Washington, DC 20528



       Overview of CRCL/ICE Quarterly Statistical Monitoring of Secure Communities
Four times a year, beginning in June 2011, CRCL and ICE will examine Secure Communities data to
identify law enforcement agencies that might be engaged in improper police practices. The data we
analyze is best understood by tracking information through the Secure Communities process. The initial
metrics described here will be subject to iterative improvement, over time, as the data sources improve
and as we come to understand which anomalies in the data can be hallmarks of law enforcement conduct
meriting further examination. We anticipate receiving stakeholder feedback, as well, to assist us in
improving our monitoring techniques.
Step 1: Fingerprint Submission
The first piece of the data flow involved in Secure Communities is law enforcement agencies’
submission of the fingerprints of individuals involved in the criminal justice process. These fingerprints
are submitted to a state identification bureau, which transmits them to the Federal Bureau of Investigation
(FBI) for comparison with a criminal-history database known as IAFIS (Integrated Automated Fingerprint
Identification System).
It is important to recognize that a single individual may be fingerprinted by a single police department
several times, as a result of repeated fingerprinting throughout the process (once at arrest, again at
arraignment, and so forth). This phenomenon varies among jurisdictions; some agencies fingerprint a
defendant only once from arrest through sentencing, while others fingerprint a person as many as seven
times. Therefore, the number of submissions—at least for some agencies—is not a count of the number of
arrests the agency made; instead, the volume of their submissions is much higher than their number of
arrests. In our data analysis, we will “de-duplicate”—or remove duplicate fingerprint submissions
from—the data to arrive at a better estimate of the number of arrest-based fingerprint submissions. (In so
doing, we will unavoidably eliminate from the submission records many of those that accompanied
arrests for people arrested more than once.)
Step 2: Comparison to the IDENT database
The next step in the Secure Communities process occurs when FBI transmits the submissions to a unit at
DHS called US-VISIT (United States Visitor and Immigrant Status Indicator Technology). At US-VISIT,
the submissions are automatically compared to a second database, called IDENT (Automated Biometric
Identification System). The IDENT database contains fingerprint records for millions of individuals with
prior immigration encounters, such as an application for a visa or a prior removal from the United States.
If submitted fingerprints match an non-U.S. citizen’s IDENT record, that individual is an IDENT match.
The ratio of matches to submissions for a given jurisdiction, over a period of time, is the match rate.

Statistical Monitoring Tool 1: Match Rate
For each jurisdiction, data from the U.S. Census (in particular, the American Community Survey),
establishes the percentage of the population born outside the United States. We examine whether the
proportion of arrestees with an IDENT match in a given jurisdiction differs markedly from census
estimate of foreign-born percentage. A very high IDENT match rate—more than twice the census
foreign-born percentage—could be a “yellow flag” that police are concentrating law enforcement
activities in immigrant communities, and so could be the basis for further inquiry.

Step 3: Review of Criminal History of IDENT matches
An IDENT match is not a determination that immigration enforcement activity should occur. It’s simply
a lead, on which ICE can do additional work to decide whether the alien in question is removable, and
whether such a removal would be an appropriate use of ICE resources.
All of the individuals with an IDENT record are referred to ICE’s Law Enforcement Support Center
(LESC), which looks at other databases to quickly review the individual’s criminal history and
       Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 23 of 36



immigration status. LESC identifies individuals who, from its limited information, have either previously
been convicted for, or have just been arrested for, an aggravated felony—a set of felonies defined by
federal immigration law. The LESC then transmits information on aliens who appear to be removable to
ICE field offices, along with an indication whether the alien appears to have an aggravated felony history.
NOTE: The FBI-created “federal rap sheet” on which LESC relies for the criminal history does not
always include full data on convictions, and details of the most recent arrests take time to arrive, so this
part of the process proceeds without full information.

Statistical Monitoring Tool 2: Match Volumes by Seriousness of Criminal History
Using FBI data on crime within each jurisdiction—the Uniform Crime Reports (UCR)—we expect a
certain ratio of aggravated felony arrests to other arrests. By comparing that ratio to the aggravated
felonies identified by LESC within the set of potentially removable aliens, we can identify jurisdictions
that appear to be arresting an anomalous proportion of lower-level alien offenders. Jurisdictions whose
IDENT matches show an unusually high proportion of lower-level offenders, relative to that jurisdiction’s
crime patterns and demographics, may merit a closer examination.

Step 4: Administrative Arrest
If ICE chooses to pursue removal against an individual identified in Step 3 and referred to a field office, it
will administratively arrest him or her and commence removal proceedings. At this point, the individual’s
criminal history is assigned to a category, in accordance with ICE’s removal priorities: Level 1 for
persons convicted of an aggravated felony, or two or more other felonies; Level 2 for persons with one
other felony, or three or more misdemeanor, convictions; and Level 3 for persons with only two or fewer
misdemeanor convictions. ICE also pursues non-criminal immigration violators; that is, individuals
subject to removal with no criminal conviction documented in ICE’s system or the federal rap sheet.
Step 5: Removal and Return
Upon the conclusion of removal proceedings, a removable alien will be removed; or the alien may take
voluntary departure prior to, or at the conclusion of, removal proceedings. Which aliens are removed at
the end of this process does not directly correspond to the population arrested, of course, because of the
many points in between where prosecutorial discretion and other case-specific factors will play a role. But
biased arrest patterns might influence the set of aliens removed.
Two important caveats: First, many of the identified “non-criminal immigration violators” actually do
have criminal convictions that are not in federal records, and many more may fit within ICE priorities for
reasons other than their criminal history, such as a prior removal or failure to appear for an immigration
proceeding. Second, because of data entry delays, it is common for an alien to be removed before the
tracking database reflects a conviction on the most recent arrest (although not before the ICE enforcement
officer knows about the conviction). Therefore, over the weeks and months following removal, aliens
initially recorded as non-criminal removals are often reclassified into a criminal history category based on
their last arrest and conviction.

Statistical Monitoring Tool 3: Removal Proportions
Using ICE’s removal data, we can compare the rates of misdemeanant and non-criminal immigration
violator removals. Jurisdictions with high rates of those lower-priority removals could merit further
examination to see if the removal rates are being driven by distorted arrest rates not detected through
other metrics.


Once a jurisdiction is identified as meriting further examination, because of one of these three monitoring
indicators, the next steps are to use additional data sources to look at that jurisdiction’s arrest and
enforcement patterns, and possibly to conduct a factual investigation in the field.
Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 24 of 36




                  EXHIBIT D
       Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 25 of 36


                                                                      U.S. Department of H omeland Security
                                                                      Washington, DC 20528




June 14, 201 1

MEMORANDUM FOR:               All ICE and CRCL Personnel

FROM:                         Margo   Schlange~~ ~~
                              Officer for Civil Rights arld Civi l Liberties
                                        of omela~
                              DepartmentZ   b nd Security

                              Gary Mead
                              Executive Associate irector
                              U.S. Immigration and Customs Enforcement

SUBJECT:                      Secure Communities Complaints Involving State or Local Law
                              Enforcement Agencies

This memorandum sets out how the Department of Homeland Security (OHS) Office for Civil
Rights and Civil Liberties (CRCL) and U.S. Immigration and Customs Enforcement (ICE) will
address civil rights complaints involving state and local Jaw enforcement and ICE ' s Secure
Communities program.

I. STRATEGY

Pursuant to CRCL's mandate to "oversee compliance with constitutional, statutory, regulatory,
policy, and other requirements relating to the civi l rights and civil liberties of individuals
affected by the programs and activities of the Department," 6 U.S.C. § 345(a)(4), CRCL's
Compliance Branch will investigate complaints of racial/ethnic discrimination or profiling or
other civil rights or civil liberties allegations regarding state and local law enforcement agencies'
conduct in jurisdictions in which ICE's Secure Communities program has been activated.

Secure Communities differs from most other programs involved in CRCL investigations insofar
as civil rights or civi l liberties allegations relating to Secure Communities may concern claims of
mi sconduct by state or local law enforcemen t officers or agencies, not OHS employees or
contractors. Unlike with its 287(g) program, ICE need not have a forma l partnership with the
local law enforcement agencies whose arrests trigger an information flow to ICE through Secure
Communities. CRCL wi ll, therefore, often lack a compulsory process or the abil ity to require
state and local law enforcement agencies to cooperate in our investigations. Based on varied
factors and relationships, CRCL and ICE will strive to obtain the level of state and local law
enforcement agency cooperation needed and ICE will assist in CRCL's investigations, including
promoting such cooperation. The tools identified below will promote production of documents
and witnesses when necessary (see Part II.D below).
       Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 26 of 36




This process is useful to ensure that DHS's activities do not function as a conduit or incentive for
discriminatory policing, but it is important to note (and ICE will state, if asked) that DHS/ICE
oversight of Secure Communities does not put DHS or ICE in a position to superintend all law
enforcement conduct in jurisdictions where Secure Communities has been activated. It remains
the responsibility of each jurisdiction to abide by its constitutional obligation to avoid
discriminatory policing. Many civil rights and/or community policing mechanisms that may
assist in fulfilling that responsibility have nothing to do with Secure Communities or
immigration enforcement. Accordingly, DHS will not discourage development or use of such
mechanisms.

II. INVESTIGATION PROCESS

Three potential informational sources could lead to a CRCL investigation related to Secure
Communities: (1) complaints alleging misconduct with respect to identifiable individuals or
groups, or a specific law enforcement agency or agencies, received through the CRCL complaint
line or email box or through referral from ICE; (2) statistical anomalies ("yellow flags")
recognized through standing quarterly reviews of Secure Communities data by ICE and CRCL;
and (3) third-party research, such as non-governmental organization (NGO) reports or systematic
media investigations. The appropriate response will generally follow somewhat different
pathways.

ICE will in the first instance direct potential complainants to file their complaint with CRCL, as
is now done through a notice on the Secure Communities web site. Where ICE receives a civil
rights complaint concerning Secure Communities directly, its first step will be to forward the
complaint to CRCL for processing under the methods described here. In an exceptional case
requiring immediate ICE investigation (such as a credible allegation of a practice posing an
immediate threat to life or safety), ICE will promptly notify CRCL of the complaint and facilitate
CRCL' s participation in its own investigation.

This memorandum addresses complaints exclusively or principally concerning conduct by a state
or local law enforcement agency in a situation involving Secure Communities. For Secure
Communities civil rights complaints also alleging misconduct by ICE employees or contractors,
CRCL will follow its standard procedures for investigating or, as appropriate, referring
investigations to the ICE Office of Professional Responsibility (QPR) through the Joint Intake
Center (JIC).

ICE and CRCL may also receive nonspecific or programmatic allegations about Secure
Communities that cannot form the basis for a further investigation-a general claim from a
member of the public that the initiative promotes civil rights abuses, for example. It will
generally be appropriate for the recipient, whether ICE or CRCL, to respond to such nonspecific
allegations through its established process for addressing such correspondence, without
implicating this protocol. ICE and CRCL will, however, collaborate on any such correspondence
calling for a considered and coordinated response.




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       Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 27 of 36




A. Secure Communities complaints

Upon receipt of a complaint about Secure Communities regarding identifiable persons or groups
in connection with specific law enforcement agencies, CRCL' s Compliance Branch will
generally take the following steps:

   1. Notify Secure Communities personnel that the investigation has been initiated. If the
      complaint involves significant allegations against ICE employees or contractors, ICE will
      follow standard procedure for OHS civil rights complaints, including coordination with
      ICEOPR.
   2. Research available law enforcement databases, in particular ICE's ENFORCE and the
      information available through FBI's National Crime Information Center (NCIC), and
      regular statistical reporting on Secure Communities. This step seeks information about
      both the individuals and encounters identified in the complaint and about the conduct of
      the agency or agencies involved based on statistical reporting.
   3. Interview the individuals identified in the complaint and review any documents they
      provide.
   4. Work with ICE to understand the law enforcement agency or agencies that are the subject
      of the complaint. This step will vary from case to case, but could include interviewing an
      ICE field officer or field office director and requesting documents from the field office.
   5. In some cases, make a limited document request to the law enforcement agency for items
      such as the arrest files on the identified individuals.
   6. Determine DHS's Title VI jurisdiction by researching whether the subject of the
      complaint is a recipient or sub-recipient of OHS grants.
    7. Notify the Department ofJustice Civil Rights Division of the investigation.
    8. Jointly investigate the law enforcement agency in question with ICE if a case is opened in
       the ICE Joint Integrity Case Management System (JICMS). If there is no JICMS case,
       depending upon the circumstances, CRCL will jointly investigate with ICE or will
       investigate independently. This step could include interviews with officers of the
       jurisdiction in question, further document requests, site visits, examination of data sets
       held by the agency, etc. Where there are allegations regarding ICE employees or
       contractors, CRCL will coordinate as appropriate with ICE Office of Professional
       Responsibility (OPR).
    9. Prepare findings (in conjunction with ICE if a joint investigation), if appropriate.
    10. Prepare recommendations to ICE and/or the subject of the complaint. The scope of
        possible recommendations is discussed further below.

    11. Notify DOJ ofthe results ofthe investigation.

Some of these steps may happen simultaneously, and the process may be pretermitted if an
allegation is determined non-credible, or does not suggest a problem, at an earlier step. Note that
different types of Secure Communities complaints may principally involve either the arresting
agency (usually a police department) or the detaining agency (often a county sheriff operating a

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       Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 28 of 36




jail), but we may seek information from the counterpart (arresting or detaining) agency even
where no allegation of misconduct attaches to it directly.

B. Statistical anomalies

ICE and CRCL will jointly design and review regular reports (generated at least once a quarter)
to detect anomalies in arrest patterns or other police conduct in enrolled jurisdictions. These
anomalies, the definition of which will require significant further development beyond the scope
of this document, might surface as deviations from expected benchmarks, or sharp changes in a
jurisdiction's statistics without a ready explanation. If a "yellow flag" anomaly is identified that
warrants further examination, CRCL will:

    1. Collaborate with ICE regarding the anomaly and request information from the field
       office on what might be causing it.
    2. Conduct further database research on the jurisdiction in question, along the lines of a
       "root cause analysis." This research will attempt to gather more particularized data than is
       captured by quarterly reports, and could include geographical detail, numeric identifiers,
       or other analysis to identify the cause of the anomaly.
    3. If these steps cannot resolve the anomaly, CRCL may:
           a   Open a deeper statistical investigation and invite ICE to partner in the
               investigation; and/or
           b. Examine non-database sources to provide concrete facts on which to research the
              agency's conduct. These could be complaints raised by NGOs, in media reports,
              or in correspondence with the Department that had not prompted us to open a
              formal investigation in the absence of the statistical anomaly.
    4. Determine DHS's Title VI jurisdiction by researching whether the subject of the
       investigation is a recipient or subrecipient of OHS grants.
    5. Notify the DOJ Civil Rights Division of our investigation.
    6. Depending upon the circumstances, investigate the anomaly jointly with ICE, or
       independently. This step could include interviews with officers of the jurisdiction in
       question, further document requests, site visits, etc.
    7. Prepare findings (in conjunction with ICE if a joint investigation), if appropriate.
    8. Prepare recommendations to ICE and/or the subject of the anomaly. The scope of
       possible recommendations is discussed further below.
    9. Revise quarterly statistical review protocol in light of lessons learned.
    10. Notify DOJ ofthe results ofthe investigation.


C. Other external data
Both CRCL and ICE may receive or come to be aware of other sources of non-government data
and research that may facilitate oversight of Secure Communities. ICE and CRCL will consider


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        Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 29 of 36




appropriate follow-up action to such research on a case-by-case basis. Where outside research
involves a limited number of specified jurisdictions, a follow-up investigation, if appropriate,
would generally follow the protocol for investigating statistical anomalies, as set forth in part (B)
above, beginning at step 2.


D. Noncooperation
We anticipate that law enforcement agencies will voluntarily cooperate with our investigations.
If necessary, additional tools exist that may facilitate cooperation, including, potentially,
adjustments to Secure Communities protocols for the relevant jurisdiction and using DHS's Title
VI authority if appropriate. (See 6 C.F.R. § 21.9(c) ("Each recipient [of OHS financial support]
shall permit access by the Secretary during normal business hours to such of its books, records,
accounts, and other sources of information, and its facilities as may be pertinent to ascertain
compliance with [OHS Title VI antidiscrimination regulations].'').

III. RECOMMENDATIONS, REFERRALS, AND REMEDIES

On a case by case basis, responding to the particular situation, if CRCL finds civil rights or civil
liberties problems in the course of an investigation, CRCL will provide recommendations, and
may refer the investigation to other government bodies with additional oversight authority.
Recommendations may encompass:

    •   Increased officer training and/or oversight on civil rights and civil liberties issues.
    •   Identification of law enforcement officers who may require disciplinary investigation.
    •   Referral of matters to state or local authorities, such as state attorneys general or police
        oversight bodies.
    •   Referral of significant matters to the U.S. Department of Justice, Civil Rights Division
        for possible criminal investigation under 18 U.S.C. § 242 or other authorities, or civil
        litigation under 42 U.S.C. § 14141 or other authorities.
    •   Prospective inquiry, scrutiny, and/or requested reporting by the agency, which may
        require the collection of additional information on police conduct, including
        individualized data on individuals stopped or arrested by the agency.
    •   Changes to ICE's administration of the Secure Communities program for the individual
        jurisdiction, if appropriate.
    •   Improvements to the oversight of the Secure Communities program.
    •   Restrictions or cancellation of OHS grants to the agency pursuant to the OHS Title VI
        regulations, if appropriate.




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Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 30 of 36




                  EXHIBIT E
      Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 31 of 36
                                                                  Secretary
                                                                  U.S. Department of Homeland Security
                                                                  Washington, DC 20528




                                                                  Homeland
                                                                  Security

                             November 20, 2014

MEMORANDUM FOR:              Thomas S. Winkowski
                             Acting Director
                             U.S. Immigration and Customs Enforcement

                             Megan Mack
                             Officer
                             Office of Civil Rights and Civil Liberties

                             Philip A. McNamara
                             Assistant Secretary for Intergovernmental Affairs

FROM:                        Jeh Charles   Johnso~ ... •                       ,.
                             Secretary            ~

SUBJECT:                     Secure Communities

      The Secure Communities program, as we know it, will be discontinued.

       The goal of Secure Communities was to more effectively identify and facilitate
the removal of criminal aliens in the custody of state and local law enforcement agencies.
But the reality is the program has attracted a great deal of criticism, is widely
misunderstood, and is embroiled in litigation; its very name has become a symbol for
general hostility toward the enforcement of our immigration laws. Governors, mayors,
and state and local law enforcement officials around the country have increasingly
refused to cooperate with the program, and many have issued executive orders or signed
laws prohibiting such cooperation. A number of federal courts have rejected the
authority of state and local law enforcement agencies to detain immigrants pursuant to
federal detainers issued under the current Secure Communities program.

       The overarching goal of Secure Communities remains in my view a valid and
important law enforcement objective, but a fresh start and a new program are necessary.
As recommended by the Homeland Security Advisory Council Task Force, Secure
Communities "must be implemented in a way that supports community policing and
sustains the trust of all elements of the community in working with local law
enforcement."

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                                                                   www.dbs.gov
         Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 32 of 36




        Accordingly, I am directing U.S. Immigration and Customs Enforcement (ICE) to
discontinue Secure Communities. ICE should put in its place a program that will
continue to rely on fingerprint-based biometric data submitted during bookings by state
and local law enforcement agencies to the Federal Bureau of Investigation for criminal
background checks. However, ICE should only seek the transfer of an alien in the
custody of state or local law enforcement through the new program when the alien has
been convicted of an offense listed in Priority 1 (a), (c), (d), and (e) and Priority 2 (a) and
(b) of the November 20, 2014 Policies for the Apprehension, Detention and Removal of
Undocumented Immigrants Memorandum, or when, in the judgment of an ICE Field
Office Director, the alien otherwise poses a danger to national security. In other words,
unless the alien poses a demonstrable risk to national security, enforcement actions
through the new program will only be taken against aliens who are convicted of
specifically enumerated crimes.

       Further, to address the increasing number of federal court decisions that hold that
detainer-based detention by state and local law enforcement agencies violates the Fourth
              1
Amendment, I am directing ICE to replace requests for detention (i.e., requests that an
agency hold an individual beyond the point at which they would otherwise be released)
with requests for notification (i.e. , requests that state or local law enforcement notify ICE
of a pending release during the time that person is otherwise in custody under state or
local authority).

        If in special circumstances ICE seeks to issue a request for detention (rather than a
request for notification), it must specify that the person is subj ect to a final order of
removal or there is other sufficient probable cause to find that the person is a removable
alien, thereby addressing the Fourth Amendment concerns raised in recent federal court
decisions.

1
  See, e.g., Miranda-Olivares, 2014 WL 14 14305, at *11 (D. Ore. Apr. 11 , 2014) (holding that county violated the
Fourth Amendment by relying on an ICE detainer that did not provide probable cause regarding removability);
Morales v. Chadbourne, 996 F. Supp. 2d 19, 29 (D.R.l. 20 14) (concluding that detention pursuant to an immigration
detainer "for purposes of mere investigation is not permitted"). See also Moreno v. Napolitano, Case No. 11 C
5452, 2014 WL 4814776 (N.D. Ill. Sept. 29, 20 14) (denying judgment on the pleadings to the government on
plaintiffs' claim that ICE's detainer procedures violate probable cause requirements); Gonzalez v. ICE, Case No.
2: 13-cv-0441-BRO-FFM, at 12- 13 (C.D. Cal. July 28, 2014) (granting the government 's motion to dismiss, but
allowing plaintiffs to file an amended complaint and noting that plaintiffs "have sufficiently pleaded that Defendants
exceeded their authorized power'' by issuing "immigration detainers without probable cause resulting in unlawful
detention"); Villars v. Kubiatoski, --- F. Supp. 2d ----, 20 14 WL 179563 1, at* 10 (N.D. Ill. May 5, 201 4) (rejecting
dismissal of Fourth Amendment claims concerning an ICE detainer issued ''without probable cause that Villars
committed a violation of immigration laws"); Galarza v. Szalczyk, Civ. Action No. 10-cv-0681 5, 201 2 WL
1080020, at * 14 (E.D. Penn. March 30, 2012) (denying qualified immunity to immigration officials for unlawful
detention on an immigration detainer issued without probable cause), rev' d and remanded on other grounds, 745
F.3d 634 (reversing district court' s finding of no municipal liability); Uroza v. Salt Lake City, No. 2: 11 CV713DAK,
201 3 WL 653968, at *6-7 (D. Utah Feb. 2 1, 2013) (denying dismissal on qualified immunity grounds where plaintiff
claimed to have been held on an immigration detainer issued without probable cause). Cf Makowski v. United
States, --- F. Supp. 2d ---, 20 14 WL 10891 19, at *10 (N.D. Ill. 20 14) (concluding that plaintiff stated a plausible
false imprisonment claim against the United States where he was held on a detainer without probable cause).

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       Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 33 of 36




      This new program should be referred to as the "Priority Enforcement Program" or
"PEP."

        Nothing in this memorandum shall prevent ICE from seeking the transfer of an
alien from a state or local law enforcement agency when ICE has otherwise determined
that the alien is a priority under the November 20, 2014 Policies for the Apprehension,
Detention and Removal of Undocumented Immigrants Memorandum and the state or
locality agrees to cooperate with such transfer. DHS will monitor these activities at the
state and local level, including through the collection and analysis of data, to detect
inappropriate use to support or engage in biased policing, and will establish effective
remedial measures to stop any such misuses.2 I direct the Office of Civil Rights and Civil
Liberties to develop and implement a plan to monitor state and local law enforcement
agencies participating in such transfers.

        Finally, acquainting state and local governments, and their law enforcement
components, with this policy change will be crucial to its success. I therefore direct the
Assistant Secretary for Intergovernmental Affairs to formulate a plan and coordinate an
effort to engage state and local governments about this and related changes to our
enforcement policies. I am willing to personally participate in these discussions.




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 See Homeland Security Advisory Council, Task Force on Secure Communities Findings and Recommendations,
September 2011 .

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Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 34 of 36




                  EXHIBIT F
    Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 35 of 36
                                                             Office for Civil Rights and Civil Liberties
                                                             U.S. Department of Homeland Security
                                                             Washington, DC 20528




    Monitoring and Addressing Civil Rights Complaints and Concerns Arising from
               Transfers to ICE from State or Local Law Enforcement

    On November 20, 2014, Secretary of Homeland Security Johnson issued a memorandum
     entitled Secure Communities, directing U.S. Immigration and Customs Enforcement
     (ICE) to discontinue the Secure Communities program and to put in its place the Priority
     Enforcement Program (PEP).

    PEP relies on fingerprint-based biometric data, submitted during bookings by state and
     local law enforcement agencies (LEAs) to the Federal Bureau of Investigation, to identify
     priority aliens in LEA custody for potential enforcement action. PEP and the DHS
     enforcement priorities serve to significantly limit the potential for civil rights and civil
     liberties abuses in the identification of individuals in LEA custody for transfer to ICE for
     potential civil immigration enforcement.

    LEAs may cooperate in the transfer of priority aliens outside the PEP framework as well,
     as recognized in the Secure Communities memorandum. Recognizing the need to support
     community policing and maintain community trust, Secretary Johnson directed that DHS,
     pursuant to a plan developed by the Office for Civil Rights and Civil Liberties (CRCL),
     monitor these activities, including through the collection and analysis of data, to detect
     inappropriate use to support or engage in biased policing, and to establish effective
     remedial measures to stop any such misuses.

    CRCL has authority to investigate whether federal immigration enforcement activities,
     including those initiated based upon criminal arrests by state and local LEAs, may serve
     as a conduit for improper policing activities by those LEAs. CRCL investigates,
     identifies, and reports on areas of concern to develop relevant facts and, where necessary,
     to establish effective remedial measures, with respect to aliens who are transferred to ICE
     custody following an arrest by an LEA.

Identification of Concerns and Monitoring Transfers

    Civil rights concerns regarding the use of transfers to ICE by state or local LEAs to
     support or engage in biased policing may come to the attention of ICE or CRCL through
     several channels, including:
       Case 1:16-cv-00211-RMC Document 32-4 Filed 05/12/17 Page 36 of 36




          o Notification of individual complaints: Allegations of improper LEA conduct that
            led to an individual’s criminal arrest and subsequent transfer to ICE custody, such
            as profiling on the basis of race, ethnicity, or limited English proficiency;

          o Community and public concerns: External stakeholders, including
            nongovernmental organizations, advocates, or media representatives, may
            provide reliable information indicating improper LEA practices; and

          o Statistical monitoring: CRCL’s analysis of information routinely collected
            by ICE may identify patterns or trends consistent with improper police
            practices, warranting additional review.

      Allegations by the public of this nature should be directed to CRCL’s Compliance
       Branch (information on filing complaints is at www.dhs.gov/file-civil-rights-complaint).
       Where ICE receives an allegation of improper LEA conduct, or identifies information
       suggesting improper police practices, ICE will refer that information to CRCL.

      CRCL will regularly monitor (both PEP and non-PEP) transfers from LEAs to ICE for
       civil immigration enforcement through statistical modeling. CRCL will use information
       including biometric submission and match data through PEP as well as other ICE data
       on prioritization of aliens encountered and enforcement actions taken.

Assessing and Responding to Civil Rights Concerns

      CRCL will regularly assess civil rights concerns at the state, county, and
       individual law enforcement agency levels, using all available and lawful
       means to identify when concerns arise from allegations of biased policing,
       misuse of federal information systems, or any other allegation of improper
       LEA practices that may impact federal immigration enforcement. However,
       CRCL’s legal and practical authority to investigate the activities of LEAs
       (as distinct from entities within DHS) is limited.

      Where CRCL develops a concern about transfers by a jurisdiction’s LEAs, it will meet
       with ICE to consider the basis for the concern and appropriate adaptive or remedial
       action. The Deputy Secretary of Homeland Security, ICE, and CRCL will collaborate
       on appropriate responses to significant concerns, with public outreach and engagement
       wherever feasible.

      If CRCL assesses or develops a good-faith basis to conclude that an LEA participating in
       transfers to ICE may be in violation of federal civil rights law, including but not limited
       to 42 U.S.C. § 14141, it will notify the U.S. Department of Justice, Civil Rights Division.
       CRCL may also communicate similar concerns to state attorneys general or other entities
       with appropriate jurisdiction.



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